Case 8:21-cv-00538-CJC-ADS Document 13 Filed 04/27/21 Page 1 of 1 Page ID #:137

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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
                               CIVIL MINUTES − GENERAL

 Case No.     8:21−cv−00538−CJC−ADS               Date 4/27/2021
 Title        THERESA BROOKE V. SUMMIT HOSPITALITY 129 LLC

 Present : The Honorable CORMAC J. CARNEY, U.S. DISTRICT JUDGE

                Cheryl Wynn                                   Not Reported
                Deputy Clerk                           Court Reporter / Recorder


      Attorneys Present for Plaintiffs:           Attorneys Present for Defendants:
               None Present                                  None Present


 Proceedings:        (IN CHAMBERS) ORDER DISMISSING ACTION ON NOTICE
                     OF DISMISSAL

      The Court is in receipt of Plaintiff’s Notice of Dismissal of the entire action [12],
 and hereby orders the case dismissed with prejudice. Further, the Court orders all
 proceedings in the case vacated and taken off calendar.


                                                                            −     :     −
                                                Initials of Deputy Clerk: cw




 CV−90                             CIVIL MINUTES−GENERAL                              Page 1 of 1
